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         CIV 201007 CIV DS2021913 CASEEN 125502



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Complaint and Party information entered




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        6
             Attorneys for Plaintiff
        7    JOSEPH DIAZ JR


        8


        9                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

    10                                   FOR THE COUNTY OF SAN BERNARDINO

    11


    12       JOSEPH DIAZ JR                              Case No   C IV DS 2 0 2 1 9 1 3
    13                                 Plaintiff         COMPLAINT FOR
                    v


    14
                 LPH HEREDIA true name RAFAEL             2   BREACH OF FIDUCIARY DUTY
             HEREDIA TARANGO a k a RAFAEL
    15                                                    3   BREACH OF IMPLIED IN FACT
             HEREDIA a1k a RAFAEL BUSTAMANTE
                                                              CONTRACT
             JOHN DOE ESQ and JANE DOES 1
    16                                                    4   CONVERSION
             through 20 inclusive
                                                          5   TORTIOUS INTERFERENCE WITH
    1                                                         PROSPECTIVE ECONOMIC
                                   Defendants
                                                              ADVANTAGE
    1                                                     6   VIOLATION OF THE MUHAMMAD
                                                              ALI BOXING REFORM ACT              15
    19                                                        US C   6301 et seq
                                                          7   QUANTUM MERUIT
    20                                                    8   ACCOUNTING

    21                                                   JURY TRIAL DEMANDED

    22


    23                                                                                                         i


    24
                                                                                                      I
    25                                                                                                    i




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    27


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                                                                           dN
                                                                                        Q
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1             Plaintiff JOSEPH DIAZ JR                    Diaz    or Plaintiff            brings this Complaint against Defendants

2    RALPH HEREDIA true name RAFAEL HEREDIA TARANGO a k a RAFAEL HEREDIA a k a

3    RAFAEL         BUSTAMANTE                 Heredia           JOHN DOE                ESQ       and JANE DOES 1 through 20

4    collectively
                          Defendants         and alleges based on knowledge as to himself and his own acts and on

5    information and belief as to all other matters as follows

6                                                          INTRODUCTION


7              1          Diaz is    a world champion professional                     boxer    He holds the International Boxing

8    Federation super featherweight title which he won on January 30 2020 He is a former U S National

9    Champion and U S Olympian having fought for the United States in the 2012 Summer Olympics
10   in London


11             2          Heredia is Diaz      s
                                                   boxing       manager       This is a defined role that means he represents

                                                                                                                                         As
12   Diaz in   contractual negotiations            relating to   boxing       contests      exhibitions     and
                                                                                                                  training   exercises




13   a boxing manager Heredia s compensation is a percentage of the money the boxer Diaz earns
14   which amount is supposed to be fixed by contract and which contract must be approved by the
15   California State Athletic Commission


16             3          As discussed more fully below a boxing manager is supposed to be wholly devoted
17   to his   or   her   client s   best interests        The   manager       is   a   fiduciary     The manager has a professional

18   legal and ethical responsibility to handle a boxer s business affairs with care and trust

19             4          Heredia did not do that for Diaz             Instead Heredia manipulated exploited and stole

20   from his champion client in violation of both state law and the federal Muhammad Ali Boxing

21   Reform Act           Ali Act        As discussed more fully below Heredia first induced Diaz into an illicit
22   arrangement         whereby Heredia       s   half brother Moses Heredia                  was   Diaz   s manager   on paper     while




23   Defendant Heredia          served as     Diaz    s   de facto   manager             The reason for this arrangement was that

24   Moses Heredia was licensed by the California State Athletic Commission as a boxing manager
25   Defendant Heredia was not And the reason Defendant Heredia was not licensed is likely due to the

26   fact that he has been          hiding   his true     identity   Diaz s counsel has discovered that Ralph Heredia s

27   true name is Rafael Heredia Tarango and that he has gone by many aliases including Rafael Tarango
28   and   Rafael Bustamante            The name Ralph Heredia is one such alias used to conceal his criminal
                                                                          1
                                                                                                                               COMI LAINT
Case 5:20-cv-02332-JWH-KK Document 3 Filed 11/09/20 Page 5 of 27 Page ID #:14
                                                                                      a

1       past Defendant Heredia as Rafael Bustamante is a canvicted felon who spent years ir prison for

2       his rale in runr ing a drug trafficking ring in the 1990s 4fcourse Defendant Heredia never disclosed
3       these facts to his client Uiaz or the true reasar why he had his halfbrother Moses sign Diaz s

4       manager agreement that was submitted to the Commission like every boxer manager contract in

5       California must be

6                  5        As part of his plot after signing Diaz as a client Heredia used Diaz to get his foot in
                                            known                            firm   Golden   Boy   Pramatians     Once that
7       the door        with   the   well             baxing     promation




    8   relationship was established Heredia expressly and continuously put his oum interests aver Diaz s
9       interests and sought benefits far himself from Golden Boy rather than advocating for Diaz s

10      interests       a vioiation of the Ali Act and his duties as a manager

11                 6         Qn tap of all that and as discussed more fully below Heredia also repeatedly stole
12      fram Diaz          both money       and personal
                                                            property    He did so with the help of an attorney Defendant

13      John Doe Esq whose name Diaz does not knaw and whorn he never agreed to retain

14                 7         Thraugh this action Diaz seeks compensatory and punitive damages as well as the

1S      recovery ofhis attarneys fees againstthe Defendants for their vialatians ofstate and federal law as
16      alleged herein


1 7                                                             THE PARTIES


1                  8         Plaintiff 3oseph        Diaz   3r    is an individual residing in San Bernardina County

19      California


2Q                 9           Defendant Ralph Heredia true name Ralph Heredia Tarango a k a Rafael Heredia

21      a   k   a Rafael   Bustamante is      an   individual residing in San       ernardino County California

22                 10          Defendant John Doe Esq is a licensed attarney practicing in Califarnia who will be

23      identified through discovery in this case

24                 11          The true names and capacities whether individual corporate associate or otherwise

25      of Defendants Jane Does 1 through 20 inclusive are presently unknown to Plaintiff who therefore

26      sues said       defendants    by    such   fictitious   names   Each fictitiously named defendant is in some way

27      respansible for participated in or cantributed to the matters alleged herein Plaintiff will amend this

28
                                                                        2
                                                                                                                  COMPLAINT
Case 5:20-cv-02332-JWH-KK Document 3 Filed 11/09/20 Page 6 of 27 Page ID #:15



 1    Complaint to a Iege the true names and capacities of Defendants Jane Does 1 thraugh 20 when they

 2    are ascerta ined


 3             12        Each and every Defendant was the agent servant emplayee joint venturer partner

 4                   and or co conspiratar of each other   Defendant     and       in performing     or   failin    ta perform
      subsidiary

 5    the acts alleged herein each Defendant was acting individually as well as through and in the foregoing
 6    alleged capacity and within the course and scope of such agency employment jaint venture

 7    partnership subsidiary and or conspiracy

 8                                         JURISDICTIQN ANI VENUE


 9             I3        This Caurt has subject matter jurisdictian over this action because the a nount of

10    damages claimed exclusive of interest and costs is in excess of 25 OOQ 00

11             14        This Court has personal jurisdaction over Defendants because they reside in

12    California da substantial busin ss in Califc rnia iave subsfiantial rninirnum cc ntaots with Cali ornia

13    andJor intentionally avail themselves of the benefits and protections of California law through the

14    promotion sale marketing and provision af services in California

15             15        Venue is proper in this Court because Defendants reside and or do business in this

16    judicial district


1 7                                         FACTUAL ALLEGATI4NS


18                                        The Professic nal Boxin      Industrv

19                                                      Managers


20             16         The preerninent Ali Act defines a maxaager as a person wha receives compensation

21    for   service as an agent ar representative of a    baxer      15 U S G            63Q1 5     Boxers must navigate


22    complex contractual       relationships   with various   participants   in   the
                                                                                         baxing industry           This can be


23    daunting especially for fighters who are not experienced ar educated in the business side of the
24    industry       A manager s professional role is ta represent the boxer in variaus negotiations and

25    otherwise handle the baxer s business affairs in a fair and ethical manner                  The manager serves as a

26    fiduciary     to the baxer   The manager is supposed to be wholly devoted to his ar her client s best

27    interests


28
                                                               3
                                                                                                                   COMPLAIN I
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 1               17          As compensation the manager typically receives a percentage af the boxer s purse

2    for   each       baut    or fight The purse is the amount of maney the boxer receives from the promater of

 3   a   fight defined below                The promoter guarantees the purse at the outset the purse amount does nat

 4   depend      on    the   outcame of       the   fight      Because the manager s cornpensation is ordinarily tied to the

 5   boxer s purse the manager has every incentive to negotiate vigorously with the promoter for as large

 6   a purse as possible



 7                                                                     Framoters


 8               l8          Proznaters play        a   different rale in     boxing        The A1i Act defines a   pramoter   as   the


 9   person primarily responsible for orgariizing promoting and producing a professianal baxing match

IO   15 U S C           6341 9        Promoters contract with boxers ta provide a certain number offights in return


11   for   compensation          in   the    form   of a       purse   for   each   fight    Promoters rnake money primarily from

12   selling tickets television rights and advertising rights for a bout as well as from other promotional
13   activities        Promoters guarantee the purse to the boxer and manager before the fight and then earn


14   their profit by generating more money in revenue than they spend promoting the fight
15                                                          Sanctioning Organizations

16               19          Under the Aii Act             a
                                                                sanctioning       organization    is   an organization that sanctions


l7   professional       boxing    matches       in   the    United States           5 U S C       6301 14     Stated differently these

18   are   the   organizations        that   rate   baxers     and rec4gnize championships and           titles   There are four majar


19   sanctioning        arganizations          the World          Boxing     Association        WBA      the World Boxing Cauncil
2q    WBC         the   World    Boxing       Or    anization      WBO        and the International Boxing Federation IBF
21                                    Federal and State Re ulation of Prafessional Boxin


22               20          Professional bo ing inthe United States is governed at both the federal and state ievel

23   At the federal level there are two primary laws that regulate the boxing industry the Professional
24   Baxing Safety Act and tl e A1i Act
25               21          After a number of boxing bills were introduced in Congress from the 19 74s through
26   the 1990s aimed at addressing practices such as bribery racketeering licensing and safety in 1996

27   with the sponsorship of Senators John McCain and Richard Bryan Congress passed the Professional

28   Boxing Safety Act which was designed to ensure boxers safeiy
                                                                              4
                                                                                                                          COMPLAINT
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    1          22        While the Professional Baxing Safety Act saught to pratect boxers from physical

    2   harm it did not address abusive and exploitative business practices that had taken ror t in the baxing

    3   industry    Cangress was particularly concerned with the financial explaitation of boxers by other
    4
        participants in the industry with more experience and bargaining pawer
    5          23        Such exploitation could be avoided if the boxer had competent and independent


    6   representation This is where baxing managers enter the picture Ideally a manager shauld fiercely

    7   and exclusively advocate for t e boxer s interests when negotiating with saphisticated business

    8   entities In reality however that did not always happen

    9                     A manager is suppas d to have same                         degree of independent
                         judgment                T here are situations where a manager is actually a
1                        paid      employee of a prornoter or             even    an afficer of a promotion


1
                         company Sometimes this is quite overt and since ane ofthe roles of
                         manager is to represent a boxer in negotiations with a promoter it is
                         obvious         that    appropriate        objectivity   cannot     exist   in   such   a
12
                         circurnstance


13


14      Business Practices in          the      Professional    Boxing Industry           Hearing Before the Committee on

15      Commerce Seience           and    Transportation S          Hrg   145 712   at   29 1998     prepared statement




16             24        In order ta address abusive and exploitative business practices in the boxing industry

17      Senators McCain       and    Bryan      proposed    the Ali Act in 199           According to the initial Senate Report

18      the Ali Act was intended to              protect professional boxers fram coercive and exploitative business

19      practices assist state boxing afficiais to provide proper oversight of the sport and increase honest
20      competitior    and   the   integrity    of the
                                                         industry      S Rep 105 371 at 1 Oct 6 1998

21             25        The bill alsa proposed to outlaw canflicts of interest between promoters and managers


22      The Senate Report ernphasized that                it remains essential that managers serve and protect the interest


23      of the baxer and that managers should nat be serving the financial interests of the promoter while
24      simultaneously taking         a    percentage       earnings cut from the baxer for biased representation            as


2S      manager       Id at 7


26             26        Congress        passed    the Ali Act in 2000        President Bill Clinton signed the bili into 1aw

27      on May 2b 2000
28
                                                                          S
                                                                                                                     COMPLAtNT
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1              27             Among ather things the Aii Act established the fallowing majar reforms
2                             a            Firewall        Between Managers            and    Promaters         The Ali Act establishes a


3                                          firewall    between      managers and prarnoters              Managers are prolaibited from

4                                      having a direct or indirect financial interest in the promotion ofa boxer and
5                                      frarn being employed by or receiv ing compensation or ather benefits from
6                                      a promoter except for amounts received as consideratian under the manager s

7                                      contract with        the   baxer      15 U S C         6308 b


                              b        Prvtection from Coercive                      ontracts      The Ali Act declares that long term

9                                          option     contracts     are     in restraint of trade cantrary to public policy and

1p                                     unenforceable against              any boxer      Id      6307b


11                            c        Required Disclosures Promoters and sanctioning organizations are required

12                                     to make certain financial disclosures re arding the bouts they promote or

13                                     oversee        Id      6307d         6307e


14              28            The Ali Act calls for severe sanctions against individuals who vialate the manager

1S                    firewall                      including                                 Id     6309
     prornoter                       up to    and                  eriminai penalties




16              29            Because the amount a promater makes is in part a fu ction of how much it pays the

17   baxer          that is how big of a purse the pramgter guarantees the boxer from a given boutpramc ters
18   and boxers are expected to negotiate hard over payment and ather terms The promoter and the boxer

19   sit on opposite sides of the bargaining table and if they strike a deal they become business partners
20   It is the rnanager s job tn represent the boxer in these negotiations The manager serves as a fiduciary

21   to the baxer and is expected to protect and advance the boxer s interests Because the manager s fee

22   is tied   tc   the   size of    the   purse      since   the manager makes a percentage of what the                 boxer   makes   the



23   manager is supposed to have every incentive ta bargain hard for a bigger payaut to his or her client
24    and by extension ta him ar herself

25              30             The A1i Act serves to protect boxers the boxing industry and the public fram abusive
26   exploitative             and   anticornpetitive        behavior         The     establishment     of   a   strict   tirewall   between


27   managers ar          d   promoters underscores           Congress       s   judgment     that    aJ manager must be a determined

28
                                                                                 b
                                                                                                                                 COMPLAINT
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                                                                                             s

 1   advocatefor the boxer s interests and not be influenced by financial inducements from a promoter

 2   S Rpt No        106 83       at   11 June 21 1999              emphasis added




 3             31         Every       state   has its   own
                                                              boxing      regulations as well       In California the State Athletic


 4   Commission which is part of the Department of Consumer Affairs is charged with regulating

 5   amateur    and       professional        boxing     in   addition        to wrestling   and    other   mixed   martial   arts    The


 6   regulatory activities of the Commission protect the public contestants and state government from

 7   monetary losses due to fraudulent business practices Boxers are protected from injury by preventing

 8   mismatches and ensuring proper medical exarninations The Commission also has the sole power to

 9   license all professionals and amateurs who participate in these sports Each participant in the boxing

10   industry must be licensed before taking part in the sport including managers fighters matchmakers
11   and fight officials


12             32         The Commission primarily establishes requirements for licensure issues and renews

13   licenses approves and regulates events assigns ringside officials investigates complaints received

14   and issues fines and or suspends or revokes licenses for misconduct

15             33          In California in addition to the federal Ali Act boxing is regulated by the state Boxing

16   Act   Bus        Prof Code                 18600    et   seq        the California Code of Regulations          Cal Code        Regs


17   title 4        201    et   seq    and other miscellaneous provisions of the Civil Code and Penal Code


18                              Defendants Relationshin with Diaz and Violation of the Law

19             34          Diaz was introduced to Heredia when Diaz was approximately 14 or 15 years old

20   Heredia    maintained what               Diaz describes        as    a   cordial    relationship with Diaz for several years

21                                 him                        boxing                                 In or around 201 l       when Diaz
     periodically     buying             gifts such as                    gear and      equipment




22   began to win national boxing tournaments and gain more recognition Heredia took a greater interest

23   in Diaz    In 2011 Diaz won the U S Men s National Tournament                                  Then he won at the U S Olympic

24   trials and qualified for the 2012 Olympics Around that time Heredia approached Diaz and his father

25   and asked whether he could sign Diaz as a boxing client

26             35          Shortly after the 2012 Olympics Diaz agreed to allow Heredia to be his manager and
27   signed a manager agreement
                                                   But the manager agreement was not directly signed by Heredia as

28
                                                                              7
                                                                                                                              COMPLAINT
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 1   Diaz s manager Instead Heredia had his half brother Moses Heredia sign the manager agreement

 2   with Diaz and be the manager of record


 3              36         The    reason          Defendant      Heredia       had his half brother          Moses        sign the manager


 4   agreement was that Moses Heredia was licensed as a manager by the California State Athletic

 5   Commission Defendant Heredia was not In fact to this day Defendant Heredia is not licensed as
 6   a manager by the Commission This is likely due to the fact that Defendant Heredia has a documented
 7                                    did                to            his   true   identity to   the Commission      or   to   Diaz     Indeed
     criminal    history    and             not want          reveal




 8   Defendant Heredia            s   true name       is Rafael Heredia Tarango                   Defendant Heredia has gone by many

 9   aliases including Rafael Tarango and Rafael or Ralph Bustamante The name Ralph Heredia is
10   one   such alias used            to conceal      his     criminal past         Defendant Heredia        as Rafael Bustamante           was


11   indicted in connection with a headline making extortion and threatened murder plot against Los
12   Angeles Rams player Darryl Henley over a 350 000 debt stemming from a drug deal involving over
13   twenty five     pounds of cocaine                   He was ultimately convicted of a felony for conspiracy to possess

14   and   distribute      cocaine          for   which   he    was sentenced         to nearly     twenty   years   in   prison       Defendant


15   Heredia never disclosed these facts to Diaz or the true reason he had his half brother Moses sign the

16   manager agreement




17              37         At    all relevant       times       Moses Heredia         was   only    a   paper manager           At all relevant


18   times Defendant Ralph Heredia handled all of Diaz s financial affairs and was the true manager for

19   the duration      of   the   parties          relationship     continuing to this        day       Diaz had met Moses only once

20   before signing the           manager agreement                 After signing the agreement Diaz hardly interacted with

21   Moses at all


22              38         Defendant Ralph Heredia arranged all of Diaz s boxing commitments He negotiated

23   all   of   Diaz   s    media       workouts          and    interviews           He negotiated what few              paltry sponsarship

24   opportunities         Diaz   entered          and    caused   Diaz to      miss     out on    the many    he did     not      And he was


25   primarily involved in the negotiations with Golden Boy who became Diaz s promoter
26              39         Prior to signing Diaz Ralph and Moses Heredia were relatively unknown in the
27   boxing industry              They       did   not   have many           if any    other clients
                                                                                                         After signing Diaz Defendant

28   Heredia traded on Diaz s name and reputation to advance his own interests rather than Diaz s
                                                                                8
                                                                                                                                   COMPLAINT
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 1   Heredia used Diaz to get his foot in the door with Golden Boy He then traded on Diaz and Golden

2    Boy s names and reputations to sign other fighters such as Luis Feliciano and Francisco Vargas
 3   Today all of Heredia s clients are signed with Golden Boy
 4           40        Defendant Heredia s arrangement with his other clients is similar to his arrangement

 5   with Diaz Moses Heredia is the signor of the manager agreement with the boxer Moses Heredia is

 6   the manager of record as           far   as   the   California State Athletic Commission is                 aware    But Defendant


 7   Ralph Heredia is the true manager operating without a contract or the necessary licensure or approval

 8   from the Commission


 9           41        Over the course of the parties relationship Heredia failed to adequately protect or

10   advance    Diaz   s    interests    Diaz brought to Heredia s attentian repeatedly that other fighters with

11   worse qualifications than Diaz were getting better matches greater purses and more sponsorship

12   opportunities         Heredia always dismissed these concerns and assured Diaz that Heredia would take

13   care of everything


14            42       In reality Diaz was often forced to strike his own deals and advance his own interests
15   without    and often     in   spite o      Heredia      For example Diaz had to promote himself on social media

16   to   obtain   sponsorship      opportunities          Diaz also pushed for his championship bout against Tevin

17   Farmer who was not signed with Golden Boy on January 30 2020 in Miami Florida while Heredia
18   was advocating for worse matchups in other locations which were more favorable to Heredia and or
19   Golden    Boy     Heredia was more concerned with his relationship with Golden Boy than with Diaz

20   Since Heredia used Diaz as his ticket to get in with Golden Boy and since all of his clients were

21   Golden Boy clients Heredia could not and did not negotiate vigorously with Golden Boy on Diaz s
22   behal     Heredia knew that if he bargained too hard with Golden Boy for Diaz it would hurt him with

23   his other clients

24            43       Heredia did        not      just fail to adequately   protect    Diaz      s   interests       He also stole from


25   Diaz    In or around February 2017 Heredia approached Diaz and told him that he wanted to enter
26   into   a new    manager agreement              and    change   the terms   of   their   deal      specifically to increase the

27   manager s      fee to 20           After      some consideration      Diaz   agreed     to   a   fee   of   18      not   20   On or


28
                                                                       9
                                                                                                                               COMPLAINT
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    1   around
                  February                    23 2017 Diaz                               signed            the    new manager agreernent                               memorializing the 18               fee the


    2    Current Agreement


    3             44                     The Current Agreement was signed solely by Heredia s half brother Moses as Diaz s

    4   manager To wit there is no name or signature indicating a co manager

    5
             The arties F er lo havC re                                 l and si9 csi 1h s ontract an J aQr                     ment in e ch nther s pr sdrs ce an i in tltc rreser Ce oi 1h
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21                45                     The Current Agreement was presented to the California State Athletic Commission

22      for approval and approved on February 24 2017 Defendant Ralph Heredia s name does not appear

23      anywhere on the Current Agreement But this did not stop Defendant Ralph Heredia who again is

24      not licensed by the Commission from serving and holding himselfout as Diaz s manager

25                46                     Only weeks after inducing Diaz to enter into the Current Agreement signed only by

26      Moses Defendant Ralph Heredia negotiated Diaz s promotional agreement with Golden Boy

27      Critically Moses Heredia is not the only manager listed on the Golden Boy Agreement Defendant

28      Ralph Heredia also signed the Golden Boy Agreement as Diaz s manager
                                                                                                                            10
                                                                                                                                                                                                      eovrri a rrT
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                     MQSES HEREDiA                                                                 RALPH H

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                     By                                                                            8y
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                     r            M         rr                                                     titie            tG R

20                                                             f                                                                        1
                         ate                                                                       i   ate



21


22              47                Despite the fact that Moses signed the Current Agreement as Diaz s purported                                                      sole


23      and   exclusive             manager and is the manager af record as far as the California State Athletic

24      Cc mmission is aware Defendant Ralph Heredia continued to serve as I iaz s true manager                                                                     and


25      continues    to do        sa        to this      day   This was a fraud perpetrated on the Co nmission                                      It was alsa a fraud


26      perpetrated on Diaz Heredia never disclosed to Diaz the true nature of the parties relationship He

27      did not disclose the true reason why he had his half brother Moses sign the Current Agreement as

2       the manager rather than him The true reason was that Heredia was trying to hide his criminal past
                                                                                              I1
                                                                                                                                                          COMPLAINT
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    1   from the Cominission and from Diaz               He was not and is not qualified or licensed ta serve as Diaz s

    2   manager        He did   not   and   does   not   have   the   necessary       approvals      to   serve    as   Diaz   s manager      He


    3   did not and does not have the requisite qualificatians to handle Diaz s affairs or represent him in al1


    4   the relevant contractual negotiations relating to his boxing career The truth is this illicit arrangement

    5   was the only way ta enable Heredia to gain full access to Diaz s finances tn be able to divert I7iaz s

    6   money and property into his own caffers and to create illicit revenue streams and benefits ofhis own

    7   with Golden Boy

    8             48       Furthermare       despite the fact that the Current lgreement                        ca11s   far   an   1     fee Diaz


    9   eventually rea ized that Heredia was actually ta l ing a 2Q fo fee even thaugh Diaz had expressiy
1Q      rejected   the   20lo fee     When Diaz       confranted      Heredia         abaut   the   extra   2      Heredia responded that


11      this was the fee fc r Diaz s lawyer who Heredia had retained on Diaz s behalf to help with his

12      affairs




13                49       But Diaz    never agreed      to any lawyer            The   truth   is the    extra    2     was used to pay for

14      Heredza    s   lawyer   not    Diaz   s   lawyer      This lawyer is Defendant Jahn Dae                         Esq        Diaz daes nat


15      know the identity of John Doe Esq Diaz never signed a retainer agreement with 3ohn Doe Esq He
16      daes not recall seeing any correspondence fram John Doe Esq He helieves he may have met 3ohn
17      Doe Esq once but daes nat recall having any conversation with him about any legal matter or issue
18      John Dae Esq was hired by Heredia for the benefit ofHeredia Diaz never agreed ta hire 3ahn Doe

19      Esq ar ta be represented by John Doe Esq who in turn necessarily violated the rules ofprofessional

20      canduct and the law to the extent he purparted ta represent Diaz without his knowledge or consent

21      and without an engagement agreement




22                50       At                     Heredia           the           2
                                a minirnum                  stole         extra
                                                                                        manager s fee from Diaz John Doe Esq
23      was directly aware of and participated in this scheme to steal the 2 lo from Diaz

24                51       Practically speaking Heredia alsa stole whatever portian he received of the 1 S lo

25      manager s      fee from Diaz    Heredia      was not a
                                                                    party   to the    Current Agreement                 Ie was not entitled to


26      any   manager s     fee from Diaz         But he has been pocketing a portion of the manager s fee under the
27      Current Agreement He is able ta do this because by virtue of his role as Diaz s manager Heredia
2       has full access to Diaz s finances including the compensation paid by Golden Boy Heredia induced
                                                                          12
                                                                                                                                       COMPLAINT
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    1   Diaz to enter into the Current Agreement under false pretenses while concealing his criminal past

 2      and the fact that he did not have the proper licensure or qualifications ta manage Diaz which render

    3   the Current Agreement null and void


 4               S2        Heredia      also   stole
                                                       money from Diaz in   another   explicit way    In or around October


    5   2019 Heredia purchased a 2016 Lexus RC350 purpartedly for Diaz s benefit and agreed to make a

    6   presumably       unlicensed       auto loan to Diaz until Diaz could pay it off The parties agreed that Diaz

    7   would pay Heredia for the vehicle fram his boxing praceeds in addition to the contractual manager s

    8   fee    After one particular baut Diaz paid Heredia               25 000 00 toward the vehicle     I eredia accepted


    9   this money        Diaz   also    paid    4 000 04 to have the vehicle      which was c riginally painted white

10      wrapped in matte black


11               53        On    or about      September 8    2020 despite the fact    that   Diaz had invested    29 000 00


    2   into the vehicle Heredia intentionally and maliciously had the vehicle repossessed and took it back

13      for himself He did not give any notice to Diaz that Diaz was purportedly in default on payments for

14      the   vehicle    because he      was not         He never asked Diaz for any additional payments toward the

15      vehicle He did nat give Diaz any natice that he would be repossessing the vehicie He also did not

16      return the      25 000 40 that Diaz had paid him toward the vehicle or the              4 000 00 that Diaz had paid

17      for impravements to the vehicle And Diaz had among other persanal effects approximately 300 00

18      in cash in the vehicle which was never returned to him

19               S4        Diaz believes that Heredia repossessed his vehicle and stole his           29 0OO OQ investment

20       plus approxirnately 300 00 in cash in the vehicle in retaliation for Diaz signing a business advisory

21      agreement with another           company         Heredia was jealaus and believed that the other campany was

22      infringing on his manager s rights with Diaz which it was not

23               S5        Yet another way that Heredia stole from Diaz was by taking tickets provided by

24      Golden Boy to Diaz s fights that were supposed ta be for Diaz s family and friends and converting

25      them to his own use Specifically Heredia stole th best seats for himselfand his conspirators and

26      gave only a few much worse seats to Diaz s family and friends

27               56        Heredia also leveraged his relationship with Golden Bay to abtain additional benefits

2       for himself at Diaz s expense            For example on at least one occasion Heredia represented to Golden
                                                                    13
                                                                                                                  COMPLAINT
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 I          that Diaz                tickets    to    a
                                                          highly   anticipated        bout between Sau                  Canela        Alvarez and
     Bay                wanted




 2   Gennadiy       Golovkin in Las Vegas Nevada Diaz                      was not
                                                                                        fighting      c n   this   card     In reality Heredia

 3   wanted      and   toak    the tickets      for himsel         After the bout Heredia complained to Golden Boy about

 4   the qualiiy of the tickets stating that Diaz was upset the tickets were not floor seats and felt that
 5   Galden    Boy was not taking         care of     Diaz   s     team      Diaz never expressed such a sentiment                          This was

 6   Heredia taking an illicit benefit for himself in vialation of the Ali Act and then compiaining that the

 7   benefit was nat beneficial enough


               57       At all relevant times Heredia acted in his own best interests rather than in Diaz s best

 9   interests      Heredia used Diaz ta enrich himself and his conspiratc rs did nat adequately protect or

14   advance Diaz s boxing careera and acted precisely in the ways that the Ali Act is designed to protect
11   against



12             58       Heredia induced Dia z into an illicit arrangement whereby his half brother Moses was

13   Diaz   s manager      on paper           while   he   served as      L7iaz   s   de facto   manager           Heredia used Diaz to get


14   his foot in the door with Golden Boy and then favored his awn relationship with Golden Boy instead

15   af   vigorously advocating for his               client     Diaz      And Heredia actively stole money and personai

16   praperty from Diaz

17             59       Defendant John Doe Esq canspired with Heredia to steal fram Diaz John Doe Esq
18   was aware af       the iliicit      arrangemer        t whereby Mases Heredia                   was    Diaz    s     paper manager          but


19   Defendant Ralph Heredia              served      as    Diaz   s   de facto       manager            He was aware that the Current

20   Agreernent      called   for   an   18    rnanager s        fee    He   was aware        that Ralph took           a   2Q   o   fee    2   more




21   than the    Current Agreement            allowed      And he      accepted       that   extra   2      for himself for purported legal

22   services       He did not obtain Diaz s agreement ar approval for the pravision of le al services or for

23   any    payment    for legal     services        At all relevant times John Doe Esq toak Diaz s money earned

24   under the Current Agreement and eonverted it to his own personal use

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                                                                           1A
                                                                                                                                           COMPLAINT
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                                                                             i

 1                                            CAUSES OF ACTION


 2                                       FIRST CAUSE OF ACTION


 3                                                       Fraud


 4                                                 Against Heredia


 5          60      Diaz incorporates by reference and realleges each and every allegation contained in
 6   the paxagraphs above as though fully set forth herein

 7          61      At all relevant times Heredia and Diaz were in a fiduciary relationship a relationship

 8   of trust and confidence A boxing manager owes a fiduciary duty to his client the boxer A boxing
 9   manager must act with the utmost care trust and good faith for the benefit of his client the boxer

10   The boxer places his confidence in the manager and trusts that the manager will protect his interests

11   not take advantage ofhim and not place his own interests over those of the boxer

12          62      Heredia intentionally concealed and failed to disclose material facts to Diaz in

13   connection with    their relationship   and   Heredia   s role as   Diaz    s manager   As alleged above those


14   material facts included


15                  a
                             That Heredia was not licensed as a manager by the California State Athletic

16                           Commission


17                  b        That Heredia had a criminal history including a felony conviction

18                  c        That the   name       Ralph Heredia     was his alias used to conceal his criminal

19                           history

20                  d        That Heredia used his half brother              Moses Heredia     as the signor on the

21                           Current Agreement to evade scrutiny from the California State Athletic

22                           Commission


23                  e        That Heredia was not qualified to represent Diaz as a boxing manager

24                  f        That Heredia was taking benefits from Golden Boy for himself at Diaz s

25                           expense




26                           That Heredia     was            an additional   2    manager s fee from Diaz
                    g                               taking

27


28
                                                              15
                                                                                                        Co1 IPLAINT
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 1                     h         That I eredia never intended to a tually sell the 2016 Lexus RC354 that he
 2                               purportedly purchased for Diaz s benefit but always intended to accept Diaz s

 3                               maney and then take the vehicle back for himself
 4            63       Heredia intentionally concealed these material facts from Diaz to induce Diaz to enter
 S   inta an arrangement with him whereby Heredia could manipulate exploit and take advantage of

 6   Diaz     This was the only way to enable Heredia to gain full access to Diaz s fnances to be able to
     divert Diaz s money and property into his own coffers and to create illicit revenue streams and
 8   benefits of his awn with Golden Boy

 9            64       The facts that Heredia intentionally cancealed andlor failed to disclose ta Diaz were

10   kriown only to Heredia          and   his   ca conspirators     Diaz did    not   know   these   facts     Diaz did not and


11   could not discQver the true facts until the months leading up to the filing of this camplaint with the

12   help ofhis counsel s investigation Even with reasonable diligence Diaz could not have discovered
13   the true facts but far his counsel s investigation

14             65      Heredia s fraudulent conceaiment as alleged in this Complaint was knowing and

15   intentional    arad   intended to deceive Diaz          Had Heredia disclosed the material facts he concealed

16   Lliaz would not have allowed him to serve as his boxing manager would not have allowed him ta
17   have access to his business and financial affairs and would not have allowed him to steer his boxing

18   career




19             66      Heredia s fraudulent concealment was a substantial factor in causing harm to I7iaz

20             67      As a direct and proximate result of H redia s conduct Diaz has suffered damages in

21   an amount to be proved at trial

               68          Heredia                                  in   this   Camplaint     was     also    intentionai   wiliful
22                                   s   conduct     as   alleged




23   maliciaus and oppressive and therefore justifies an award of punitive damages

24                                               SECOND CAUSE C F ACTICIN

                                                    Breach of Fiduciary Duty

                                                           Against Heredia


27             69          Diaz incarporates by reference and realleges each and every allegation contained in
28   the paragraphs above as though fully set forth herein
                                                                     16
                                                                                                                      COMPLA1TdT
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                                 i                                                  i

    1             0        As alleged above a boxing znanager awes a fiduciary duty to his client the boxer

 2               71        Heredia was Diaz s true baxing manager at all relevant times herein As such Heredia

 3      owed a duciary duty ta Diaz

 4               72        Heredia breached his fiduciary duty to Diaz by taking advantage of Diaz placing his

 S      own interests over Diaz s interests and stealin            from Diaz in all the ways alleged in this Complaint

 6               73        Heredia s breach of fiduciary duty was a substantial factor in causing harm to Diaz

 7               74        As a direct and proximate result of Heredia s conduct Diaz has suffered damages zn

 8      an amaunt to be proved at tria


 9                                               T IIRD CAUSE UF ACTION


14                                             Breach of Implied in Fact Contract


11                                                       Against Heredia


12               75        Diaz incorporates by reference and realleges each and every allegation contained in

13      the paragraphs above as though fully set forth herein

14               76        In or around October 2019 Diaz and Heredia entered into an implied in fact contract

15      relating to the 2016 Lexus RC350 purchased by Heredia purportedly for Diaz s benefit Under this
16      implied in fact     contract   Heredia    agreed   to    laan the vehicle to Diaz until Diaz could pay it off

                he            do from his                          in              to the contractual manager s   fee     After
        which         would
                                            boxing    proceeds          addition




18      one particular baut Dia paid Heredia 25 444 00 taward the vehicle                        Heredia accepted this maney

19      Diaz alsa paid        4 000 00 to have the vehicle wrapped in matte black

20               77        The   parties   intended that their     conduct    relating to the      vehicle   namely     Heredia

21       loaning      th   vehicle   to Diaz   and   Diaz paying for the      vehicle   from his    boxing   proceeds    would




22      create a contract between them and each knew that the other would interpret their conduct as creating

23      a contract



24               78        Diaz performed a11 c r substantially all of the acts required of him under the parties

25      implied in fact contract except those things that were excused by Ieredia s breach

26               79        Heredia breached the        parties   implied in fact      cantract     On or about September 8


27      242     Heredia intentionally and maliciously had the vehicle repassessed and taok it back for himself
2       in violation of the parties agreemer t that Dia2 could use the vehicle as his own and then would own
                                                                        7
                                                                                                                  COMPLAINT
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 1    the vehicle once he paid it aff Heredia did not give any notice to Diaz that Diaz was purportedly in

 2    default   on payments     for the    vehicle        because he      was not
                                                                                         He never asked Diaz for any additional

 3    payments       toward the     vehicle     He did not give Diaz any natice that he would be repassessing the

 4    vehicle    He    also   did   not return      the     25 000 00 that Diaz had paid him toward the vehicle or the


 5     4 000 00 that Diaz had paid in improvements ta the vehicle

 6              80       As a direct and proximate result of Heredia s breach of cantract Diaz has been

 7    darnaged in an amaunt to be proved at trial but which amount is not less than                               29 000 00

 8                                                  FOURTH CAUSE t F ACTIUN


 9                                                              Canversion


10                                                        Against All I3efendants


11              81       Diaz incarparates by reference and realleges each and every allegation contained in
12    the paragraphs abave as though fully set farth herein

13              82       At all relevant times Diaz had ownership or the right to possession of certain property

14    alleged in this Complaint including his money and boxing tickets provided for his benefit by Golden

15    Boy
16              83       Defendants intentionally and substantially interfered with Diaz s rights to his money
1 7   and personal praperty Defendants wrongfully converted Diaz s maney and personal property in at
18    least the following ways
19                       a          Heredia         converted       approximately          29 300 00        af    Diaz       s
                                                                                                                                  money    by

20                                  repossessing Diaz s vehicle and failing ta return his payment of 25 0OO OQ
21                                  toward      the       vehicle     4 000 00      in    improvements           to    the       vehicle   and




22                                  approximately            300 00 in cash that was in the vehicle at the time it was

23                                  repossessed




24                       b          T   efendants converted whatever partion                they   receiv   d    of   the 18       manager s



25                                  fee   under     the Current Agreement from Diaz                  eredia was not a party ta the

2                                   Gurrent Agreement               Nor   was   John Dae     Esq     They were not entitled to any

27                                  of   Diaz   s   money    under    the Current Agreement           This is a knowable arnount

2                                   which vvill be established at trial
                                                                          18
                                                                                                                                  COMPLAINT
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 1                     c        Llefendants converted an extra 2 l0 of Diaz s manager s fee by taking a 20

 2                              fee instead     of   the   18   fee set farth in the Current Agreement             Heredia toak

 3                              this   extra   2     fee   without    Diaz   s   knowledge       ar   consent   John Doe Esq

 4                              accepted    this   extra    2   fee   without    Diaz    s   knowledge   or consent     This extra


 5                              2      fee is a knawable amaunt which will be established at trial

 6                      d       Heredia converted tickets provided by Goiden Boy ta Diaz s fights that were

 7                              supposed       to be for Diaz    s
                                                                      family     and   friends   The value af these tickets is

 8                              knowable and will be established at trial


 9           4          Defendants had no legal right to interfere in such a manner with Diaz s praperty rights

10   Diaz did not consent in any manner to Defendants engaging in this wrangful conduct

11          85          As a direct and praximate result af Defendants conversion Diaz has been damaged

l2   in an identifiable amount which will be determined at trial

13          86          Defendants acts of conversion as alleged in this Complaint were intentional willful

14   maliciaus and oppressive and therefore justify an award af punitive damages

15          87          Diaz is further entitled to his attorneys              fees and costs pursuant to California Civil

16   Code section 3336


17                                              FIFTH CAUSE OF ACTION


l8                          Tortious Interference with Prospective Economic Advantage

19                                                         Against Heredia


20              8       Diaz incorporates by reference and realleges each and every allegation contained in
21   the paragraphs above as though fully set farth herein

22           89         An economic relatianship existed between Diaz and his promoter Golden Boy for

23   the promotion ofcertain bouts for which Diaz would earn a purse


24          9           Heredia had knowledge Qfthe relationship between Diaz and Golden Boy Indeed he

25                                                                   between Diaz             Golden   Boy as   iaz s   manager
      frauduZently     signed   the promotional       agreement                         and



26           91         The relationship between Diaz and Golden Bay affered valuable prospective

27   economic       benefits to Diaz     The mare challenging and high profile the bouts Diaz fought and the

28
                                                                      19
                                                                                                                        co   i arNT
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    1   faster Diaz could build on his pedigree and fi rther advance his career the greater the purses Diaz


    2   would c btain and the more money he would earn

    3          92          However Heredia engaged in intentianal and wrongful conduct designed to interfere

    4   with or disrupt the relationship between Diaz and Golden Boy Heredia expressly and continuously
    5   sought aut benefits for himself and his other clients signed with Golden Boy instead af protecting

    6   and advancing Diaz s interests with C1olden Boy Heredia intentionalty did not vigorously negotiate
    7   with Golden Boy on Diaz s behalf sa that Heredia could squeeze more aut of Golden Boy for himself

    8   and his other clients


    9          93          I eredia actually disrupted and interfered with the relationship between Diaz and

l       Galden   Boy       Heredia cost Diaz multiple opportunities for mare and better bouts that would be

11      promoted by Golden Boy and thereby cost Diaz the benefits of his relationship with Golden Bay

12             94          Diaz suffered actual harm as a direct and proxirnate result of Heredia s wrongful

13      conduct in an amount of damages ta be praved at trial

14             95          Heredia s acts alleged herein were intentional willful rnalicious and oppressive and


15      therefore justify an award of punitive damages
16                                              SIXTH CAUSE OF ACTIQN


17                               Violatian of the Muhammad Aii Boxing Reform Act

18                                                      Against Heredia


19             96          Diaz incorporates hy reference and realleges each and every allegation contained in

20      the paragraphs abave as though fully set farth herein
21             97          The Ali Act    pravides a private    right   of action to   a ny boxer who suffers economie

22      injury as a result af a vialation of this chapter and states that such boxer may bring an action in the

23      appropriate Federal or State court and recover the damages suffered court costs and reasanable

24      attorneys   fees   and expenses      15 U S C      6309 d


25             98          Among   other    things   the   Ali Act   establishes   a   firewall   between managers and


26      promoters      Managers     are   prohibited    from   having    a   direct ar indirect financial interest in the

27      pramotion of a boxer and from being employed by or receiv ing compensatian or other benefits
2

                                                                  20
                                                                                                             Co    r A rrT
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    1   from a promoter except for amounts received as consideratian under the manager s contract with the

 2      baxer     15 U S C       6308 b


 3               99     Heredia vialated the Ali Act by receiving benefits from Golden Boy that were for his

 4      own benefit and not for Diaz s benefit as alleged in this Complaint These benefits were not part of

    S         cor sideration   Heredia     was owed under a manager s contract with             Diaz    Heredia used Diaz as
        any

    6   subterfuge for obtaining these benefits at Diaz s expense as Diaz did nat receive the fu11 benefits af

    7   his reiationship with Golden Boy as a result of the personal benefits given by Golden Boy to Heredia

    8            100     The illicit benefits received by Heredia in violation of the A1i Act included tickets

    9   from Golden     Boy     to    a
                                          highly   anticipated   baut between Saul           Canelo    Alvarez and Gennadiy

10      Golovkin in Las Vegas Nevada which were worth thausands c f dallars                       Heredia used Diaz s name

11      and goodwill to obtain these tickets then falsely blained Diaz for being upset with the quality of th

12      tickets damaging Diaz s relatianship with Golden Boy

13               101     Diaz suffered econotnic injury as a result of Heredia s violation of the Ali Act But

14      for Heredia s violation Diaz wauld have earned more money and or benefits af his own from Golden

15      Bay    which would     have been legitimate        uniike   Heredia   s   benefits    The precise amount ofdarnages


16      suffered by Diaz wi11 be determined at trial

l7               1 2     In addition to his damages suffered Diaz is entitled to recover his court costs and

18      reasanable attorneys         fees and expenses under the Ali Act

19                                                 SEVENTH CAUSE OF ACTION


20                                                        Quantum Meruit


21                                                     Against A11 Defendants


22               103     Diaz incarporates by reference and realleges each and every allegation contained in

23      the paragraphs above as though fully set farth herein

24               10      Defendants received certain benefits frc m Diaz to which they were not entitled

25      Specifical y Defendants received the following benefits

26                       a           Heredia received approximately 29 340 Q0 of Diaz s money by repossessing

27                                   Diaz s vehicle and failing to return his payment of 25 000 00 toward the

2
                                                                     21
                                                                                                                 COMFLAINT
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 l                              vehicle
                                                 4 400 40 in improvements to the vehicle and approximately 300 00

 2                              in cash that was in the vehicle at the time it was repossessed


 3                    b         Defendants                                     2             Diaz                 fee                   20   fee
                                                         received an extra              of          s manager s
                                                                                                                        by taking   a



 4                              instead         of   the 18         fee set forth in the Current Agreement                Heredia toak this

 5                                         2
                                extra
                                                 fee without Diaz s knawledge or consent John Doe Esq accepted
 6                              this   extra         2   a   fee   without   Diaz   s   knawledge       or consent       This   extra   2    fee


 7                              amounts to tens if not hundreds                              af thousands of doilars and the precise

 8                              amount wiil be established at trial


 9                    c
                                Heredia received tickets provided by Golden Boy to Diaz s fights that were

10                              supposed tQ be for Diaz s family and friends
11           1 O5     Furthermare Heredia received the benefit ofservices owed by Diaz under the Current
12   Agreement which services were supposed to be provided to Moses Heredia as the manager ofrecord


13   Thus i n   addition   to the   extra   2        of Diaz s manager s fee alleged above Heredia received the benefit


14   af whatever partion of         Diaz    s   18       mana er s fee he took to which he was nat entitled


15           106      Defendants obtained the benefits alleged herein through wrongful and illegitimate


16   means
                Defendants have been enriched by these benefits and it would be unjust for Defendants to

17   retain these benefits


18           147      Diaz is entitled t4 restitution fram Defendants fQr the reasonable value ofthe benefits


19   conferred upon them


20                                               EIGHTH CAUSE OF ACTION


21                                                                   Accounting

22                                                           Against All Defendants


23           108      Diaz incarporates by reference and reaileges each and every allegation contained in

24   the paragraphs above as thaugh fully set forth herein
25           109      As alleged in this Camplaint a duciary cc ntractual andlor confidential relationship

26   existed between Diaz and Defendants


27           110      Diaz is unable to determine the exact amount of money owed by Defendants ta Diaz

28   as a result of their conduct as alleged in this Complaint without an accounting
                                                                          22
                                                                                                                                 COMPLAINT
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 1           111   Accordingly    Diaz requests an accounting of all unsettled accounts between
 2    Defendants and Diaz


 3                                       PRAYER FOR RELIEF


 4          WHEREFORE Plaintiff prays for judgment and an award against Defendants as follows

 5           l     For compensatory damages in an amount to be determined at trial
 6          2      For pre and postjudgment interest at the maximum rate allowed by law

 7           3     For punitive damages on the first fourth and fifth causes of action

 8           4     For an accounting as alleged herein

 9           5     For the recovery of reasonable attorneys fees

10           6     For the costs of this suit and


11           7     For such other and further reliefas the Court may deem just and proper

12


13    Dated October 7 2020                          VGC LLP


14


15
                                                    By
16                                                        James L Greeley
                                                          Diyari Vazquez
1 7                                                       Alexander R Safyan
                                                          Attorneysfor Plaintiff
1g                                                        JOSEPH DIAZ JR

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                                                                                            Co rnLanvT
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 1                                   DEMAND FOR JURY TRIAL

 2         Plaintiff hereby demands a jury trial on all issues so triable
 3


 4   Dated October 7 2020                           VGC LLP

 5


 6
                                                    By
 7                                                        James L Greeley
                                                          Diyari Vazquez
 g                                                        Alexander R Safyan

 9
                                                          Attorneys for Plaintiff
                                                          JOSEPH DIAZ JR

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                                                                                    COMPLAINT
